Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 1 of 37 PageID #: 1




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 TIARE TECHNOLOGY, INC.,                              §
                                                      §
         Plaintiff,                                   §
                                                      §     Civil Action No. 2:22-cv-182-JRG
 v.                                                   §
                                                      §       JURY TRIAL DEMANDED
 WHATABURGER RESTAURANTS,                             §
 LLC,                                                 §
                                                      §
         Defendants.                                  §
                                                      §


                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT


        COMES NOW Plaintiff Tiare Technology, Inc. (“Tiare”) and files this Original Complaint

for Patent Infringement against Defendant Whataburger Restaurants, LLC (collectively

“Whataburger” or “Defendant”), alleging as follows:

                                             I.     INTRODUCTION

        1.       Tiare invented groundbreaking mobile-ordering technology in the early 2000s and

built its business on its inventions. The fruits of this technology include a patent portfolio that

includes the asserted claims in this case. The mobile-ordering market has grown exponentially in

recent years (and the COVID-19 pandemic has only accelerated the growth). Bigger companies

have disregarded Tiare’s patent rights. Whataburger is one of those companies, and this case is to

enforce Tiare’s rights and redress the harm to Tiare.

                                     II.          NATURE OF THE SUIT

        2.       This is a claim for patent infringement arising under the patent laws of the United

States, Title 35 of the United States Code.



Original Complaint for Patent Infringement                                                     Page 1
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 2 of 37 PageID #: 2




                                             III.   THE PARTIES

        3.       Plaintiff Tiare Technology, Inc. is a Delaware corporation that maintains a

corporate address at PO Box 8312, Blackwood, NJ 08012.

        4.       Upon information and belief, Whataburger Restaurants, LLC is a company

organized and existing under the laws of the State of Texas, with its principal place of business at

300 Concord Plaza Drive, San Antonio, Texas 78216. Whataburger may be served with process

through its registered agent Corporation Service Company dba CSC Lawyers Incorporated, 211 E.

7th Street, Suite 620, Austin, Texas 78701.

                                IV.      JURISDICTION AND VENUE

        5.       This action arises under the patent laws of the United States, Title 35 of the United

States Code. Thus, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

        6.       This Court has personal jurisdiction over Whataburger.

        7.       Whataburger has committed, and continues to commit, acts of infringement in this

District, has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        8.       This Court has personal jurisdiction over Whataburger in this action because

Whataburger has committed acts within this District giving rise to this action and has established

minimum contacts with this forum such that the exercise of jurisdiction over Whataburger would

not offend traditional notions of fair play and substantial justice. Whataburger has committed and

continues to commit acts of infringement in this Whataburger by, among other things, offering to

sell, selling products and/or services, and/or using services that infringe the Asserted Patents,

including the Whataburger application.




Original Complaint for Patent Infringement                                                      Page 2
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 3 of 37 PageID #: 3




        9.       This Court has specific personal jurisdiction over Whataburger in this action

pursuant to due process and the Texas Long Arm Statute because the claims asserted herein arise

out of or are related to Whataburger voluntary contacts with this forum, such voluntary contacts

including but not limited to: (i) at least a portion of the actions complained of herein;

(ii) purposefully and voluntarily placing one or more Accused Products into this District and into

the stream of commerce with the intention and expectation that they will be purchased and used

by customers in this District; or (iii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, or deriving substantial revenue from goods and services, including

the Accused Products, provided to customers in Texas and in this District.1

        10.      Venue is proper in this Court under 28 U.S.C. §§ 1400(b).

        11.      Whataburger is registered to do business in Texas, and upon information and belief,

Whataburger has transacted business in this District and has committed acts of direct and indirect

infringement in this District.

        12.      Whataburger has regular and established places of business in this District.

        13.      Whataburger offers its products and/or services, including those accused herein of

infringement, to customers and potential customers located in Texas and in this District. As non-

limiting examples, Whataburger distributes the Accused Products directly to customers and

through its partners, such as through the Apple App Store and Google Play. Among other business,

Whataburger is in the business of providing mobile ordering in this District.

        14.      Whataburger operates multiple stores in this District. These stores are regular and

established places of business of Whataburger.



1
  The “Accused Products” include the Whataburger application, including the devices on which
the application runs.



Original Complaint for Patent Infringement                                                      Page 3
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 4 of 37 PageID #: 4




         15.      Whataburger website identifies stores within this District as its own stores,

including in Plano, Texas, McKinney, Texas, Tyler, Texas, Longview, Texas, and Marshall,

Texas.

         16.      Whataburger distributes its mobile ordering app to users located within this District.

The use of the Whataburger application in this District provides for mobile ordering from stores

in this District. Whataburger puts its mobile ordering application in service within this District to

allow users within this District to order from stores in this District in a manner alleged to infringe

the asserted claims, as detailed herein. On information and belief, Whataburger derives a

significant portion of its revenue from the use, promotion and distribution of its products and

services in this District, including through the use of Defendant’s application.

         17.      A user also is able to order from Whataburger stores in the user’s local area, which

includes this District. This is including based on the location of the user’s mobile device to find

nearby stores, including stores in this District. These locations are held out as a regular and

established place of business of Whataburger. The stores within this District are, at the very least,

Whataburger agents for the purposes of carrying out the mobile-ordering functionality asserted to

infringe the claims.

                                             V.   BACKGROUND

    A.         Tiare

         18.      Tiare pioneered wireless ordering almost two decades ago, before the inception and

proliferation of smartphone and tablets. Technology executives founded Tiare to revolutionize the

service industry through its mobile-ordering technology.




Original Complaint for Patent Infringement                                                        Page 4
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 5 of 37 PageID #: 5




         19.      Tiare saw success. It developed products.2 It provided solutions to businesses such

as hotels, airports, restaurants, bars, and airlines.3 It had partners.4 It hired vendors and software

developers. It received numerous praise and awards for its work.5 And Tiare’s innovations

resulted in a portfolio of patents.

    B.         The Asserted Patents

         20.      This cause of action asserts infringement of two of Tiare’s patents, United States

Patent Nos. 8,682,729 (the “’729 Patent”), 10,157,414 (the “’414 Patent”), and 11,195,224 (the

“’224 Patent”) (collectively, the “Asserted Patents” or the “Tiare Patents”).

         21.      A true and correct copy of the ’729 Patent, entitled “Patron Service System and

Method,” and with Julie Werbitt as the named inventor, is attached hereto as Exhibit 1.

         22.      The ’729 Patent duly and legally issued on March 25, 2014.

         23.      A true and correct copy of the ’414 Patent, entitled “Patron Service System and

Method,” and with Julie Werbitt as the named inventor, is attached hereto as Exhibit 2.



2
  See, e.g., Tiare Technology, https://www.tiaretech.com/; intelliChaise,
https://web.archive.org/web/20080219175102/http://www.tiaretech.com/; Tiare Products
Provide an Eco-Friendly Platform Capable of Real-Time Updates,
https://web.archive.org/web/20100618052642/http://www.tiaretech.com:80/; Patented
intelliChaise Personal Ordering System available on Apple iPhone & iPod touch,
https://web.archive.org/web/20120411071039/http://www.tiaretech.com/product_sheets/Tiare_in
tellichaise_2010.pdf.
3
  See, e.g., Press Room,
https://web.archive.org/web/20080120233903/http://www.tiaretech.com/pressroom.html; Tiare
In The News,
https://web.archive.org/web/20120227194146/http://www.tiaretech.com/press.html.
4
 See, e.g., Partners,
https://web.archive.org/web/20120413225638/http://www.tiaretech.com/partners.html.
5
 See, e.g., Testimonials, https://www.tiaretech.com/testimonials; News,
https://web.archive.org/web/20170818210312/http://tiaretech.com/news/.



Original Complaint for Patent Infringement                                                      Page 5
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 6 of 37 PageID #: 6




          24.    The ’414 Patent duly and legally issued on December 18, 2018.

          25.    A true and correct copy of the ’224 Patent, entitled “Patron Service System and

Method,” and with Julie Werbitt as the named inventor, is attached hereto as Exhibit 3.

          26.    The ’414 Patent duly and legally issued on December 7, 2021.

          27.    Tiare is the current owner by assignment of all rights, title, and interest in and under

the ’729 Patent. Tiare has standing to sue for infringement of the ’729 Patent.

          28.    Tiare is the current owner by assignment of all rights, title, and interest in and under

the ’414 Patent. Tiare has standing to sue for infringement of the ’414 Patent.

          29.    Tiare is the current owner by assignment of all rights, title, and interest in and under

the ’224 Patent. Tiare has standing to sue for infringement of the ’224 Patent.

          30.    Tiare also has provided notice to the public of its patented inventions. Tiare, for

example, has listed on its website the patent numbers in its patent portfolio, including the Asserted

Patents.6

          31.    The Asserted Patents result from Tiare’s inventive work in the early 2000s. Tiare’s

solution, reflected in the Asserted Patents, provides a technical improvement to mobile ordering

systems.

          32.    Before Tiare’s invention, conventional systems had significant drawbacks when it

came to enabling a fulsome mobile-ordering system able that would also perform location

tracking.7 These drawbacks flowed from how those systems were architected.




6
  See, e.g., Wireless Ordering Solutions to Enhance Guest Service and Increase Revenue,
https://web.archive.org/web/20141218065508/https://www.tiaretech.com/; Tiare Technology,
https://www.tiaretech.com/.
7
    E.g., ’729 Patent, 2:21–60.



Original Complaint for Patent Infringement                                                         Page 6
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 7 of 37 PageID #: 7




          33.    One type of conventional ordering systems were “centrally-located kiosks.”8 These

systems were an attempt to provide some degree of mobile-ordering functionality in a venue or

within the vicinity of a venue, such as a restaurant or store. These systems had the drawbacks in

that they did not provide true mobile-ordering and location-tracking functionality.9

          34.    Another type of conventional system were point-of-sale systems. These systems

could include handheld terminals that staff could use to service customers from a distance.10 These

systems, however, “typically only allow[ed] the staff member, to take and transmit the order on

behalf of the patron.”11 These systems did not allow a patron to place the order and they were

unable to perform location tracking.12

          35.    Tiare’s inventions solve these drawbacks of conventional systems, among others.

Tiare reimagined the mobile-ordering architecture by tracking portable patron units (now known

as a smartphone or tablet) and providing a venue-specific application. The conventional systems

had limitations because they were unable to track location because they focused on a fixed kiosk-

based or mobile point-of-sale-based solution. Tiare recognized that it could improve upon the

technical aspects of these systems—through providing mobile-ordering software for a venue (such

as a restaurant or store chain) on a mobile device and tracking the location of the mobile device to

facilitate the fulfillment of the order.




8
    E.g., ’729 Patent, 2:21–60.
9
    E.g., ’729 Patent, 2:21–60.
10
     E.g., ’729 Patent, 2:21–60.
11
     E.g., ’729 Patent, 2:21–60.
12
     E.g., ’729 Patent, 2:21–60.



Original Complaint for Patent Infringement                                                    Page 7
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 8 of 37 PageID #: 8




        36.      While the concept and techniques for tracking distributed mobile computing

devices of the Asserted Patents are described within the context of providing services, the concept

is, at its core, a technical solution of electronic location tracking of distributed mobile computing

devices. Furthermore, Tiare developed this technology well before the advent of modern mobile

computing devices such as smartphones and tablets. Indeed, even location-tracking technologies

such as commercial GPS and wireless computer networks (such as 802.11, Bluetooth, and higher-

bandwidth cellular data networks) were in their nascent stages of use and could hardly be

considered conventional at the time that Tiare came up with the technology embodied in the

asserted claims.

        37.      The subject matter of the asserted claims is rooted in computer technology and

provides an unconventional solution to the problem of tracking locations of distributed mobile

devices. The claimed subject matter enables the centralized location tracking of one or more

mobile-computing devices in real-time by integrating location-tracking technology into mobile-

computing devices and communicating at least one location update over wireless communication

networks, which did not exist in the pre-digital world. Indeed, even the kiosk-based and point-of-

sale-based systems lacked the technical capacity to perform the location tracking enabled by the

asserted claims. The technology utilizes what was at the turn of the century an unconventional use

of location tracking sensors integrated into mobile computing devices to determine the location of

the mobile computing devices based on electronic signals (e.g., GPS, WiFi, Bluetooth, and/or

cellular data) and convey location information to a server system over wireless computer networks.

        38.      The claims do not merely recite customizing information or collecting and

displaying data. Although the overall environment is in the context of providing services, the




Original Complaint for Patent Infringement                                                     Page 8
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 9 of 37 PageID #: 9




claims do not simply recite a non-technical business practice; they instead recite a technical

solution for tracking the location of mobile-computing devices (and, by extension, the users).

          39.     The mobile-ordering field is one rooted in technology.     The field has seen

significant patenting activity in recent years, reflecting the technological nature of the field.

Technology companies in the mobile-ordering space like DoorDash, GrubHub, Uber, Lyft,

Instacart, and Postmates have filed hundreds of patent applications.13

          40.     Tiare’s Patents have likewise been cited in patent applications by technology

companies such as AT&T,14 eBay,15 Bally Gaming,16 Intel,17 RockSpoon,18 Uptown Network,19

Quick Check,20 and Monscierge.21 This further underscores that the patent claims are directed to

the technical advancements discussed above.




13
  USPTO Patent Full-Text and Image Database, http://patft.uspto.gov/netacgi/nph-
Parser?Sect1=PTO2&Sect2=HITOFF&u=%2Fnetahtml%2FPTO%2Fsearch-
adv.htm&r=0&p=1&f=S&l=50&Query=+%28an%2Fdoordash+or+an%2Fgrubhub+or+an%2Fl
yft+or+an%2F%28uber+and+technologies%29+or+an%2Finstacart+or+an%2Fpostmates%29&
d=PTXT (listing over 700 patents).
14
     See, e.g., 10,152,700.
15
     See, e.g., 10,096,011.
16
     See, e.g., 10,403,081.
17
     See, e.g., 8,390,436.
18
     See, e.g., 10,719,858.
19
     See, e.g., 10,127,585.
20
     See, e.g., 9,633,344.
21
     See, e.g., 9,436,958.




Original Complaint for Patent Infringement                                                  Page 9
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 10 of 37 PageID #: 10




         41.      Tiare’s Patents have undergone extensive examination before the U.S. Patent &

 Trademark Office (“Patent Office”), spanning the better part of two decades. Tiare retained

 highly-skilled patent counsel to prosecute its patents. Tiare retained Greenblum & Bernstein

 (including the former Acting Chief Judge of the Patent Office). For the application that issued as

 the ’414 Patent, Tiare retained Fish & Richardson P.C. for prosecution. Fish is one of the country’s

 premier patent prosecution law firms in the United States22 and has prosecuted thousands of patents

 for technology companies such as Google, Intel, Twitter, Cisco, Adobe, and Apple.23

         42.      The Patent Office’s examination of Tiare’s patent portfolio included extensive

 consideration of Section 101 issues.24 During prosecution, the Patent Office expressly considered

 the eligibility of the patent claims under 35 U.S.C. § 101, the Supreme Court’s Alice v. CLS Bank

 decision, and the Federal Circuit decisions applying the Alice framework.25 The Patent Office



 22
    See, e.g., Patent Prosecution, https://www.fr.com/services/patent-law/patent-prosecution/ (“Our
 patent prosecutors obtain durable patents that take into account our clients’ long-term objectives
 and that will be able to withstand future challenges.”); Fish & Richardson Secures More Issued
 Patents in 2020 than Any Other Firm (March 3, 2021), https://www.fr.com/fish-secures-more-
 issued-patents-2020/ (“Fish & Richardson obtained more U.S. utility patents in 2020 than any
 other firm[.]”); Fish & Richardson Named #1 PTAB Law Firm of 2020 by Managing Intellectual
 Property (January 25, 2021), https://www.fr.com/top-ptab-law-firm-2020-mip/ (“Fish &
 Richardson has been named the #1 law firm at the Patent Trial and Appeal Board (PTAB) for
 2020[.]”).
 23
   USPTO Patent Full-Text and Image Database, http://patft.uspto.gov/netacgi/nph-
 Parser?Sect1=PTO2&Sect2=HITOFF&u=%2Fnetahtml%2FPTO%2Fsearch-
 adv.htm&r=0&p=1&f=S&l=50&Query=lrep%2Ffish+and+lrep%2Frichardson&d=PTXT.
 24
   See, e.g., File History for App. No. 13/073,368 (considering patent claims under Alice v. CLS
 Bank and its progeny and allowing them); File History for App. No. 15/820,195 (same).
 25
   See, e.g., File History for App. No. 13/073,368 (considering patent claims under Alice v. CLS
 Bank and its progeny and allowing them); File History for App. No. 15/820,195 (same); Oct. 31,
 2018 Notice of Allowance; October 28, 2018 Response to Office Action and Remarks; August 28,
 2018 Final Office Action; March 28, 2018 Response to Office Action and Remarks; December 29,
 2017 Office Action.



 Original Complaint for Patent Infringement                                                   Page 10
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 11 of 37 PageID #: 11




 ultimately found that the claims, including the ’414 Patent claims, were valid and recited patent-

 eligible subject matter.

           43.    During prosecution, the Patent Office considered the issue of patent eligibility. The

 Patent Office began an extensive examination of Section 101 starting in 2014 that spanned over

 six years across three patent applications examined by multiple examiners.

           44.    In 2014, the Patent Office considered Section 101 during the prosecution of Tiare’s

 U.S. Patent No. 9,202,244, and rejected the claims.26 The Examiner then suggested amendments

 and ultimately allowed the claims in 2015.27

           45.    The Patent Office then examined the asserted ’414 Patent under Section 101. The

 Examiner rejected the claims in 2017.28 Tiare responded and explained in detail how “each of the

 pending claims recites features that address a problem fundamentally rooted in computer

 technology and/or operate in an unconventional manner to achieve an improvement in existing

 technology at the time of the invention.”29 That included the following assertions regarding the

 technological background, the subject matter of claims, and the claimed technical solution of real-

 time electronic tracking of distributed mobile computing devices.30

       •   [T]he subject matter of the instant claims is directed to a process for the centralized real-
           time location tracking of distributed mobile computing devices. While the concept and
           techniques for tracking distributed mobile computing devices of the present application are
           described within the context of providing consumer services, the concept is, at its core, a


 26
   See, e.g., September 12, 2014 Non-Final Rejection (App. No. 13/073,368); May 13, 2015 Final
 Rejection (App. No. 13/073,368).
 27
      See, e.g., July 15, 2015 Notice of Allowance (App. No. 13/073,368).
 28
      See, e.g., December 29, 2017 Non-Final Rejection (App. No. 15/820,195).
 29
      See, e.g., March 28, 2018 Response to Non-Final Rejection (App. No. 15/820,195).
 30
      See, e.g., March 28, 2018 Response to Non-Final Rejection (App. No. 15/820,195).



 Original Complaint for Patent Infringement                                                      Page 11
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 12 of 37 PageID #: 12




         technical solution of real-time electronic tracking of distributed mobile computing
         devices.”

     •   Furthermore, this technology was developed at the turn of the century (see priority date of
         Sep. 23, 2002) well before the advent of modern mobile computing devices such as
         smartphones and tablet computers. Indeed, even location tracking technologies such as
         commercial GPS and wireless computer networks such as 802.11 and Bluetooth were in
         their nascent stages of use and could hardly be considered “conventional.” At the original
         filing date of the present application, even the terminology of mobile computing had yet to
         be established. For example, the specification refers to what would now be considered a
         smartphone or tablet computer by one of skill in the art as “portable patron units” and
         “portable staff units.” . . . .

     •   [T]he subject matter of each of the claim is “rooted in computer technology” and provides
         an unconventional solution to the problem of tracking locations of distributed mobile
         devices. Specifically, the subject matter of the pending claims enables the centralized
         location tracking of one or more mobile computing devices in real-time by integrating
         location-tracking technology into mobile computing devices and communicating location
         updates over wireless communication networks, which did not exist in the pre-digital world
         ....

     •   [T]he present claims rely on what was at the turn of the century an unconventional use of
         location tracking sensors integrated into mobile computing devices to determine the
         location of the mobile computing devices based on electronic signals (e.g., GPS, WiFi, or
         Bluetooth) and convey location information to a centralized server system over wireless
         computer networks . . . .

     •   Although the concept of the present claims is described in the context of providing
         consumer services, the claims do not simply recite a non-technical business practice, but
         instead recite a technical solution for tracking the location of mobile computing devices to
         locate customers.

     •   The present claims [] recite “a technology-based solution” to locate distributed mobile
         computing devices (and by extension the users) “that overcomes existing problems” of the
         common technology of the time; namely “centrally-located kiosks” and “handheld POS
         [point of sale] devices” neither of which incorporated or required location-tracking
         capability.

         46.      The Examiner credited these factual assertions and allowed the claim that issued as

 clam 8 in ’414 Patent. The Examiner explained that Tiare’s arguments had been “fully considered




 Original Complaint for Patent Infringement                                                   Page 12
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 13 of 37 PageID #: 13




 and are persuasive.”31 After Tiare amended the claims to address the eligibility of a different set

 of claims (by including the “providing . . . a venue-specific application” and “mapping the updated

 locations” limitations), the Patent Office issued the ’414 Patent.32

            47.      The Patent Office also evaluated under Section 101 Tiare’s most-recent patent

 application (which issued in December, 2021 as U.S. Pat. No. 11,195,224). The initial independent

 claims lacked the “venue-specific application” limitations, and the Patent Office rejected them.33

 Tiare then amended the claims to include the “venue-specific application” limitations, and the

 Patent Office withdrew the Section 101 rejections.34

            48.      The Asserted Patents claim patent-eligible subject-matter.

       C.         Whataburger’s Infringement

            49.      Whataburger offers a mobile-ordering solution.      It provides a venue-specific

 application, exemplified below.




 31
      See, e.g., August 28, 2018 Final Rejection (App. No. 15/820,195).
 32
  See, e.g., October 31, 2018 Notice of Allowance (App. No. 15/820,195); October 22, 2018 Claim
 Amendment (App. No. 15/820,195).
 33
      See, e.g., April 29, 2020 Non-Final Rejection (App. No. 16/217,798).
 34
  See, e.g., November 16, 2020 Final Rejection (App. No. 16/217,798); September 29, 2020 Claim
 Amendments (App. No. 16/217,798).



 Original Complaint for Patent Infringement                                                   Page 13
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 14 of 37 PageID #: 14




         50.      For example, the Whataburger mobile-ordering solution provides a venue-specific

 application in which the application functionality is associated with a restaurant-chain (e.g.,

 Whataburger), including the ordering and location-tracking functionality. The Whataburger

 mobile-ordering solution also provides a venue-specific application in which the application

 functionality is associated with a single restaurant, including the ordering and location-tracking

 functionality.    The Whataburger application, including the software providing the ordering

 functionality, is an application program that is specifically configured for a venue (e.g., a

 Whataburger restaurant) but may apply to more than one location (e.g., multiple Whataburger

 restaurants).

         51.      Whataburger also tracks the location of the smartphone or tablet (and, by extension,

 the user) to, among other things, to determine when a mobile device is in the proximity of the

 restaurant (e.g., checking in and to “[a]llow Whataburger to begin preparing your order when

 you’re nearby”) exemplified below.


 Original Complaint for Patent Infringement                                                    Page 14
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 15 of 37 PageID #: 15




          52.      Whataburger has had notice of Tiare and the ’414 and ’729 Patents, at least as early

 as the filing of this Complaint.

          53.      Whataburger’s use of the Tiare’s patented technology has generated significant

 revenue and benefits for Whataburger. The app has been used, on information and belief, to

 complete a significant amount of mobile orders. Whataburger’s improper gains through its use of

 Tiare’s patented technology have correspondingly harmed Tiare and its investment in its

 intellectual property. This case is to redress that harm.

                                              VI.   CLAIMS

     A.         Infringement of the ’729 Patent

          54.       The allegations of each foregoing paragraph are incorporated by reference as if

 fully set forth herein and form the basis for the following cause of action against Defendant.


 Original Complaint for Patent Infringement                                                     Page 15
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 16 of 37 PageID #: 16




         55.      The Accused Products are covered by at least claim 1 of the ’729 Patent.

         56.      Whataburger has directly infringed and continues to infringe at least claim 1 of the

 ’729 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

 Tiare’s authority, making, using, selling, or offering to sell the Accused Products in the United

 States, or importing the Accused Products into the United States.

         57.      Whataburger has been on notice of the Asserted Patents since at least the filings of

 this Complaint.

         58.      Whataburger has been on notice of its infringement since at least the filing of this

 Complaint.

         59.      Further and in the alternative, Defendant has been actively inducing infringement

 of at least claim 1 of the ’729 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused

 Products directly infringed at least claim 1 of the ’729 Patent when they used the Accused Products

 in the ordinary, customary, and intended way. Defendant’s inducements included, without

 limitation and with specific intent to encourage the infringement, knowingly inducing consumers

 to use the Accused Products within the United States in the ordinary, customary, and intended way

 by, directly or through intermediaries, supplying the Accused Products to consumers within the

 United States and instructing and encouraging such consumers (for example, via distributing the

 Accused Products to mobile phones through app stores and instructing users to use the Accused

 Products) how to use the Accused Products in the ordinary, customary, and intended way, which

 Defendant knows or should know infringes at least claim 1 of the ’729 Patent. Defendant’s

 inducements may further include, without limitation and with specific intent to encourage the

 infringement, knowingly inducing customers to use the Accused Products within the United States,

 or knowingly inducing customers to use the Accused Products within the United States, by,




 Original Complaint for Patent Infringement                                                    Page 16
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 17 of 37 PageID #: 17




 directly or through intermediaries, instructing and encouraging such customers to make, use, sell,

 or offer to sell the Accused Products in the United States, which Defendant knows or should know

 infringes at least claim 1 of the ’729 Patent.

         60.      Defendant knew or should have known of the ’729 Patent but was willfully blind

 to the existence of the ’729 Patent. Defendant has had actual knowledge of the ’729 Patent since

 at least as early as the filing and service of this Complaint. By the time of the trial of this case,

 Defendant will have known and intended that its continued actions since receiving such notice

 would infringe and actively induce and contribute to the infringement of one or more claims of the

 ’729 Patent. Defendant’s infringement of the ’729 Patent has been willful and deliberate.

         61.      As detailed below, the ordering application and location-tracking functionality

 through the mobile application provided by Whataburger is claimed to infringe the ’729 Patent.

         62.      Whataburger performs a method of using a wireless patron unit (e.g., a smartphone

 or tablet) within a venue or within the vicinity of the venue.

         63.      Whataburger provides at least one patron with a wireless patron unit by either

 permitting the at least one patron to temporarily use a venue-owned wireless patron unit that

 includes at least one venue specific application program, or by providing at least one venue specific

 application program to the at least one patron for downloading into a patron-owned wireless

 communication device that can be used during the at least one patron’s visit to the venue.

         64.      Whataburger provides at least one patron with a wireless patron unit (e.g., a

 smartphone or tablet) by providing at least one venue specific application program for

 downloading into a patron-owned wireless communication device (e.g., a smartphone or tablet)

 that can be used during a visit to the venue, exemplified below.




 Original Complaint for Patent Infringement                                                    Page 17
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 18 of 37 PageID #: 18




         65.      Whataburger connects the wireless patron unit (e.g., the smartphone or tablet) to a

 server enabling communication between the wireless patron unit and the server (e.g., the server in

 communication with the smartphone or tablet via the application), such as a Wi-Fi or cellular

 connection.

         66.      Whataburger enters a patron order for at least one item or service provided by the

 venue into the wireless patron unit. Whataburger enters a patron order (e.g., a user’s order) for at

 least one item or service provided by the venue (e.g., an item from a restaurant menu) into the

 wireless patron unit (e.g., a smartphone or tablet), exemplified below:




 Original Complaint for Patent Infringement                                                   Page 18
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 19 of 37 PageID #: 19




         67.      Whataburger determines a current location of the wireless patron unit.

 Whataburger determines the location of, for example, a smartphone or tablet, as exemplified

 below, including the blue dot that signifies Whataburger accessing and determining of the device’s

 current location.




 Original Complaint for Patent Infringement                                                 Page 19
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 20 of 37 PageID #: 20




         68.      Whataburger also tracks the location of the smartphone or tablet (and, by extension,

 the user) to, among other things, find local restaurants and products and determine when a mobile

 device is in the vicinity of the restaurant, as discussed above.

         69.      Whataburger updates a status of the patron order, and the current location of the

 wireless patron unit when the patron moves to a different location, on the wireless patron unit.

         70.      Whataburger updates a status of the patron order (e.g., a mobile order) on the

 wireless patron unit (e.g., a smartphone or tablet), including, for example, showing that an order

 was placed, in progress, cancelled, and mobile-ordering methods, pickup methods, payment

 options, other options and/or altered/updated.

         71.      Whataburger updates the current location of the wireless patron unit (e.g., a

 smartphone or tablet) when the patron moves to a different location.




 Original Complaint for Patent Infringement                                                    Page 20
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 21 of 37 PageID #: 21




         72.      Whataburger also tracks the location of the smartphone or tablet (and, by extension,

 the user) to, among other things, determine when a mobile device is in the proximity of the

 restaurant (e.g., checking in and to “[a]llow Whataburger to begin preparing your order when

 you’re nearby”) exemplified below.




         73.      Whataburger displays the patron order on a display of the wireless patron unit (e.g.,

 a smartphone or tablet), exemplified below.




 Original Complaint for Patent Infringement                                                     Page 21
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 22 of 37 PageID #: 22




     B.         Infringement of the ’414 Patent

          74.      The allegations of each foregoing paragraph are incorporated by reference as if

 fully set forth herein and form the basis for the following cause of action against Defendant.

          75.      The Accused Products are covered by at least claim 8 of the ’414 Patent.

          76.      Whataburger has directly infringed and continues to infringe at least claim 8 of the

 ’414 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

 Tiare's authority, making, using, selling, or offering to sell the Accused Products in the United

 States, or importing the Accused Products into the United States.

          77.      Whataburger has been on notice of the Asserted Patents since at least the filings of

 this Complaint.

          78.      Whataburger has been on notice of its infringement since at least the filing of this

 Complaint.




 Original Complaint for Patent Infringement                                                     Page 22
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 23 of 37 PageID #: 23




         79.      Further and in the alternative, Defendant has been actively inducing infringement

 of at least claim 8 of the ’414 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused

 Products directly infringed at least claim 8 of the ’414 Patent when they used the Accused Products

 in the ordinary, customary, and intended way. Defendant’s inducements included, without

 limitation and with specific intent to encourage the infringement, knowingly inducing consumers

 to use the Accused Products within the United States in the ordinary, customary, and intended way

 by, directly or through intermediaries, supplying the Accused Products to consumers within the

 United States and instructing and encouraging such consumers (for example, via distributing the

 Accused Products to mobile phones through app stores and instructing users to use the Accused

 Products) how to use the Accused Products in the ordinary, customary, and intended way, which

 Defendant knows or should know infringes at least claim 8 of the ’414 Patent. Defendant's

 inducements may further include, without limitation and with specific intent to encourage the

 infringement, knowingly inducing customers to use the Accused Products within the United States,

 or knowingly inducing customers to use the Accused Products within the United States, by,

 directly or through intermediaries, instructing and encouraging such customers to make, use, sell,

 or offer to sell the Accused Products in the United States, which Defendant knows or should know

 infringes at least claim 8 of the ’414 Patent.

         80.      Defendant knew or should have known of the ’414 Patent but was willfully blind

 to the existence of the ’414 Patent. Defendant has had actual knowledge of the ’414 Patent since

 at least as early as the filing and service of this Complaint. By the time of the trial of this case,

 Defendant will have known and intended that its continued actions since receiving such notice

 would infringe and actively induce and contribute to the infringement of one or more claims of the

 ’414 Patent. Defendant's infringement of the ’414 Patent has been willful and deliberate.




 Original Complaint for Patent Infringement                                                    Page 23
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 24 of 37 PageID #: 24




          81.     As detailed below, the ordering application and location-tracking functionality

 through the mobile application provided by Whataburger is claimed to infringe the ’414 Patent.

          82.     Whataburger performs the computer-implemented method detailed below.

          83.     Whataburger provides over a wireless communications channel (e.g., over a

 cellular, WiFi, and/or Bluetooth network connection), a venue-specific application, exemplified

 below.




          84.     Whataburger communicates, by the one or more processors, with the mobile

 computing device over the wireless communication channel to authenticate, based on a security

 protocol, a user of the venue-specific application on the mobile computing device.

          85.     Whataburger communicates over a wireless communication channel (e.g., over a

 cellular, WiFi, and/or Bluetooth network connection) to authenticate, based on a security protocol




 Original Complaint for Patent Infringement                                                 Page 24
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 25 of 37 PageID #: 25




 (e.g., a login, password, or encrypted communications), a user of the venue-specific application

 on a smartphone.35

         86.      Whataburger authenticates a user via a login and password into the application (e.g.,

 logging in via a username and password), as well as securing information associated with

 purchasing the order, such the user’s financial account information (e.g., credit card number or

 Apple Pay).




         87.      Whataburger receives, by the one or more processors, location information from

 the mobile computing device. Whataburger receives location information of the mobile computing

 device (e.g., a smartphone or tablet) through, for example, the device’s location services, as




 35
    Google Play Permissions,
 https://play.google.com/store/apps/details?id=wb.mobile.cx.client.droid&hl=en_US&gl=US.



 Original Complaint for Patent Infringement                                                     Page 25
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 26 of 37 PageID #: 26




 exemplified below, including the blue dot that signifies Whataburger accessing and determining

 of the device’s current location.




          88.     Whataburger also tracks the location of the smartphone or tablet (and, by extension,

 the user) to, among other things, find local restaurants and products and determine when a mobile

 device is in the vicinity of the restaurant, as discussed above.

          89.     Whataburger determines, by the one or more processors, a location of the mobile

 computing device at a first time based on the location information. Based on the location

 information provided, Whataburger determines the location of the smartphone or tablet, as detailed

 above.

          90.     Whataburger maps, by the one or more processors, the location to a region that is

 associated with a venue, exemplified below.




 Original Complaint for Patent Infringement                                                    Page 26
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 27 of 37 PageID #: 27




         91.      Whataburger receives, from the mobile computing device, order information for

 the venue that indicates a user selection of an order option from the venue-specific application.

 Whataburger receives order information from a user input that indicates a service request (e.g. a

 restaurant order) through the venue-specific application, exemplified below.




 Original Complaint for Patent Infringement                                                Page 27
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 28 of 37 PageID #: 28




         92.      Whataburger receives, by the one or more processors, updated location information

 from the mobile computing device. Whataburger receives updated location information from the

 mobile computing device (e.g., a smartphone or tablet).

         93.      For example, Whataburger also tracks the location of the smartphone or tablet (and,

 by extension, the user) to, among other things, determine when a mobile device is in the proximity

 of the restaurant (e.g., checking in and to “[a]llow Whataburger to begin preparing your order

 when you’re nearby”) exemplified below.




 Original Complaint for Patent Infringement                                                   Page 28
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 29 of 37 PageID #: 29




          94.      Whataburger determines, by the one or more processors, an updated location of the

 mobile computing device at a second time based on the updated location information.

 Whataburger determines updated locations of the smartphone or tablet at multiple points after

 receiving the updated location data at a second time, including as the device approaches the site,

 as detailed above.

     C.         Infringement of the ’224 Patent

          95.      The allegations of each foregoing paragraph are incorporated by reference as if

 fully set forth herein and form the basis for the following cause of action against Defendant.

          96.      The Accused Products are covered by at least claim 10 of the ’224 Patent.

          97.      Whataburger has directly infringed and continues to infringe at least claim 10 of

 the ’224 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without


 Original Complaint for Patent Infringement                                                    Page 29
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 30 of 37 PageID #: 30




 Tiare's authority, making, using, selling, or offering to sell the Accused Products in the United

 States, or importing the Accused Products into the United States.

         98.      Whataburger has been on notice of the Asserted Patents since at least the filings of

 this Complaint.

         99.      Whataburger has been on notice of its infringement since at least the filing of this

 Complaint.

         100.     Further and in the alternative, Defendant has been actively inducing infringement

 of at least claim 10 of the ’224 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused

 Products directly infringed at least claim 10 of the ’224 Patent when they used the Accused

 Products in the ordinary, customary, and intended way. Defendant’s inducements included,

 without limitation and with specific intent to encourage the infringement, knowingly inducing

 consumers to use the Accused Products within the United States in the ordinary, customary, and

 intended way by, directly or through intermediaries, supplying the Accused Products to consumers

 within the United States and instructing and encouraging such consumers (for example, via

 distributing the Accused Products to mobile phones through app stores and instructing users to use

 the Accused Products) how to use the Accused Products in the ordinary, customary, and intended

 way, which Defendant knows or should know infringes at least claim 10 of the ’224 Patent.

 Defendant's inducements may further include, without limitation and with specific intent to

 encourage the infringement, knowingly inducing customers to use the Accused Products within

 the United States, or knowingly inducing customers to use the Accused Products within the United

 States, by, directly or through intermediaries, instructing and encouraging such customers to make,

 use, sell, or offer to sell the Accused Products in the United States, which Defendant knows or

 should know infringes at least claim 10 of the ’224 Patent.




 Original Complaint for Patent Infringement                                                    Page 30
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 31 of 37 PageID #: 31




          101.    Defendant knew or should have known of the ’224 Patent but was willfully blind

 to the existence of the ’224 Patent. Defendant has had actual knowledge of the ’224 Patent since

 at least as early as the filing and service of this Complaint. By the time of the trial of this case,

 Defendant will have known and intended that its continued actions since receiving such notice

 would infringe and actively induce and contribute to the infringement of one or more claims of the

 ’224 Patent. Defendant's infringement of the ’224 Patent has been willful and deliberate.

          102.    As detailed below, the ordering application and location-tracking functionality

 through the mobile application provided by Whataburger is claimed to infringe the ’224 Patent.

          103.    Whataburger provides, through its mobile application, a system for locating

 electronic devices, the system comprising one or more processors and one or more data stores

 coupled to the one or more processors having instructions stored thereon which, when executed

 by the one or more processors, causes the one or more processors to perform the operations detailed

 below.

          104.    Whataburger provides, over one or more wireless channels (e.g., over a cellular,

 WiFi, and/or Bluetooth network connection), a venue-specific application to each of a plurality of

 mobile electronic devices, exemplified below.




 Original Complaint for Patent Infringement                                                    Page 31
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 32 of 37 PageID #: 32




         105.     Whataburger receives, from each of the plurality of mobile electronic devices,

 location information through the venue specific application of each respective mobile electronic

 device. Whataburger receives location information of each mobile computing device (e.g., a

 smartphone or tablet) through, for example, the device’s location services, as exemplified below,

 including the blue dot that signifies Whataburger accessing and determining of the device’s current

 location.

         106.     Whataburger also tracks the location of the smartphone or tablet (and, by extension,

 the user) to, among other things, find local restaurants and products and determine when a mobile

 device is in the vicinity of the restaurant, as discussed above.

         107.     Whataburger determines locations of each of the plurality of mobile electronic

 devices based on the location information above. Based on the location information provided,

 Whataburger determines the location of the smartphone or tablet, as detailed above.




 Original Complaint for Patent Infringement                                                    Page 32
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 33 of 37 PageID #: 33




          108.    Whataburger receives, over the one or more wireless channels, second location

 information from each of the mobile electronic devices (e.g., a smartphone or tablet), as detailed

 above.

          109.    For example, Whataburger also tracks the location of the smartphone or tablet (and,

 by extension, the user) to, determine when a mobile device is in the proximity of the restaurant

 (e.g., checking in and to “[a]llow Whataburger to begin preparing your order when you’re nearby”)

 exemplified below.




 Original Complaint for Patent Infringement                                                   Page 33
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 34 of 37 PageID #: 34




          110.    Whataburger determines, by the one or more processors, an updated location of

 each of the mobile computing devices based on the second location information. Whataburger

 determines updated locations of the smartphone or tablet at multiple points after receiving the

 updated location data at a second time, including as the device approaches the site, as detailed

 above.

          111.    Whataburger receives, from a particular one of the mobile computing device, order

 information for a venue associated with the venue-specific application. Whataburger receives

 order information through the venue-specific application, exemplified below.




 Original Complaint for Patent Infringement                                                 Page 34
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 35 of 37 PageID #: 35




         112.     Whataburger, in response to receiving the order information, sends, to a computing

 system associated with the venue, for display in a graphical user interface, data indicating the

 updated location of the particular one of the plurality of mobile electronic devices.

         113.     As detailed above, Whataburger also tracks the location of the smartphone or tablet

 (and, by extension, the user) to, among other things, to, among other things, to determine when a

 mobile device is in the proximity of the restaurant (e.g., clicking “I’m Here”) exemplified above.

         114.     On information and belief, letting Whataburger know that “I’m Here” is

 accomplished via sending to a computing system associated with the venue, for display in a

 graphical user interface, data indicating the updated location of the particular one of the plurality

 of mobile electronic devices. Whataburger states that the location is utilized to “notify cafes of

 your arrival for pick-up orders.”

                                              VII.   DAMAGES

         115.     The allegations of each foregoing paragraph are incorporated by reference as if

 fully set forth herein.



 Original Complaint for Patent Infringement                                                    Page 35
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 36 of 37 PageID #: 36




         116.     For the above-described infringement, Tiare has been injured and seeks damages

 to adequately compensate it for Defendant’s infringement of the Asserted Patents. Such damages,

 to be proved at trial, should be no less than the amount of a reasonable royalty under 35 U.S.C.

 § 284, together with Tiare’s costs and expenses, pre-judgment and post-judgment interest, and

 supplemental damages for any continuing post-verdict or post-judgment infringement, with an

 accounting as needed.

         117.     As set forth above, Defendant’s infringement of the Asserted Patents has been

 willful, such that Tiare seeks treble damages under 35 U.S.C. § 284 as appropriate.

         118.     Defendant’s willful infringement of the Asserted Patents renders this case

 exceptional under 35 U.S.C. § 285, such that Tiare seeks all reasonable attorneys’ fees and costs

 incurred in this litigation, together with pre-judgment and post-judgment interest thereon.

                                   VIII.      PRAYER FOR RELIEF

         Tiare respectfully requests the following relief:

         a.       A judgment in favor of Tiare that Defendant has infringed each Asserted Patent,

 whether literally or under the doctrine of equivalents, and that such infringement is willful as

 described herein;

         b.       A judgment and order requiring Defendant to pay Tiare its damages, costs,

 expenses, and pre-judgment and post-judgment interest for Defendant’s infringement of each

 Asserted Patent as provided under 35 U.S.C. § 284, including supplemental damages for any

 continuing post-verdict or post-judgment infringement with an accounting as needed; and

         c.       A judgment and order requiring Defendant to pay Tiare enhanced damages for

 willful infringement as provided under 35 U.S.C. § 284;




 Original Complaint for Patent Infringement                                                    Page 36
Case 2:22-cv-00182-JRG-RSP Document 1 Filed 05/26/22 Page 37 of 37 PageID #: 37




         d.        A judgement and order enjoining Defendant from infringing upon the Asserted

 Patents;

         e.       A judgment and order finding this case exceptional and requiring Defendant to pay

 Tiare its reasonable attorneys’ fees and costs incurred in this litigation pursuant to 35 U.S.C. § 285,

 together with pre-judgment and post-judgment interest thereon; and

         f.       Such other and further relief as the Court deems just and proper.

                                              IX. JURY DEMAND

         Pursuant to Federal Rule of Civil Procedure 38(b), Tiare requests a jury trial of all issues

 triable of right by a jury.

 Dated: May 26, 2022                                    Respectfully submitted,

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 Original Complaint for Patent Infringement                                                     Page 37
